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(3/15)


                               UNITED STATES DISTRICT COURT                                                 FILED IN THE
                                                                                                        U.S. DISTRICT COURT
                                                                                                  EASTERN DISTRICT OF WASHINGTON
                                                             for
                                            Eastern District of Washington                         Jan 12, 2021
                                                                                                       SEAN F. MCAVOY, CLERK



 U.S.A. vs.                  Finley, Leland James                        Docket No.          0980 1:19CR02055-SMJ-1


                               Petition for No Action on Conditions of Pretrial Release

        COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Leland James Finley, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
Mary K. Dimke, sitting in the court at Yakima, Washington, on the 21st day of February 2020, under the following
conditions:

Special Condition #5: Defendant shall submit to urinalysis and/or Breathalyzer testing up to twice per week as directed by
the United States Probation/Pretrial Services Office.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #1: Mr. Finley is alleged to be in violation of his pretrial release conditions by failing to submit to a random
urinalysis test at Merit Resource Services (Merit) on January 7, 2021.

Conditions of pretrial release were reviewed and signed by Mr. Finley on February 24, 2020, acknowledging an
understanding of his pretrial release conditions including special condition number 5.

On January 8, 2021, this officer received a status report via email from Merit advising Mr. Finley failed to show or call for
his random color line urinalysis test on January 7, 2021. On January 11, 2021, this officer attempted to contact Mr. Finley
regarding his missed test from 8:45 a.m. until 3:45 p.m., when Mr. Finley finally responded. This officer asked Mr. Finley
why he failed to show for his random urinalysis test on January 7, 2021, to which he stated, "I didn't know that I had a UA
sorry, someone passed that day and I was distracted, I didn't call that day." This officer also reached out to Mr. Finley's
assigned counsel requesting assistance in an attempt to make contact with him as well this date. Mr. Finley stated, "I was in
shock (relating to the death) and it over ran my antidepressants, I completely shut out. I apologize, it won't happen again."


                     PRAYING THAT THE COURT WILL ORDER NO ACTION AT THIS TIME

                                                                           I declare under the penalty of perjury
                                                                           that the foregoing is true and correct.
                                                                           Executed on:         01/12/2021
                                                                   by      s/Linda J. Leavitt
                                                                           Linda J. Leavitt
                                                                           U.S. Pretrial Services Officer
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  Re: Finley, Leland James
  January 12, 2021
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THE COURT ORDERS

[ X]     No Action
[ ]      The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      The incorporation of the violation(s) contained in this
         petition with the other violations pending before the
         Court.
[ ]      Defendant to appear before the Judge assigned to the
  case.
[ ]     Defendant to appear before the Magistrate Judge.
[ ]     Other


                                                                     Signature of Judicial Officer
                                                                     1/12/2021

                                                                     Date
